        4:18-cv-00268-RBH         Date Filed 01/23/19    Entry Number 14           Page 1 of 2


                                                                                         CLARENCE DAVIS


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                                                                                             Columbia, SC 29201

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                                                                              803 744 0800 O | 803 744 0805 F




                                          January 23, 2019


VIA ECF
The Honorable R. Bryan Harwell
U.S. District Judge
401 West Evans Street
Florence, SC 29501


                       Re:       Doe v. Coastal Carolina University
                                 Case No. 4:18-cv-00268-RBH


Dear Judge Harwell:

        For the Court’s case docket administration and per the attached email “string”, the above
named Defendant Coastal Carolina University has requested and Plaintiff John Doe has consented
to a 14-day extension in which to file its Answer. The Answer is now due on February 6, 2019. Let
us know if any questions or concerns.

      Respectfully yours, I am


                                              s/ Clarence Davis
                                              Clarence Davis


CD/jh

cc:      Counsel of Record (Via ECF)
       4:18-cv-00268-RBH                        Date Filed 01/23/19                  Entry Number 14                  Page 2 of 2



From:              Clarence Davis
To:                Gilliam, James; Golding, Henrietta
Cc:                Evans.Sheila@mcnair.net; Jaime Harmon
Subject:           RE: Doe/Coastal Carolina Title IX Litigation
Date:              Tuesday, January 22, 2019 10:48:43 AM


Per your request below and by copy of this reply email, I agree to a 14 day extension to Answer the Complaint, with
its due date now being February 6, 2019.     
 
 
                  Clarence Davis
                  GRIFFIN DAVIS
                  803 744 0800 o  |  803 744 0805 f
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From: Gilliam, James [mailto:JGilliam@burr.com]
Sent: Tuesday, January 22, 2019 10:12 AM
To: Clarence Davis <CDavis@griffindavislaw.com>; Golding, Henrietta <HGolding@burr.com>
Cc: Evans.Sheila@mcnair.net
Subject: RE: Doe/Coastal Carolina Title IX Litigation
 
Clarence:
 
Our answer in this case is due tomorrow, Jan. 23?  May we have a 14-day extensions of time, which would make our
answer due on Feb. 6, 2019? 
 
Jim
 

                                                     James Gilliam  •  Partner
           AL  • DE • FL  • GA                       Founders Centre, 2411 Oak St. Suite 206, Myrtle Beach, South Carolina 29577
           MS  • NC • SC  • TN                       main 843-444-1107 • fax 843-444-4729
                                                     jgilliam@burr.com • www.burr.com 

                                                     Burr & Forman Joins Forces with McNair Law Firm, P.A., Effective January 1, 2019
                                                     360 Attorneys. 19 Offices. 1 Firm. Southeast Strong.
